O AO 247 (NC/W 11/11) Order Regarding M otion for Sentence Reduction



                                      U NITED STATES D ISTRICT C OURT
                                                                       for the
                                                      Western District of North Carolina

                    United States of America                             )
                               v.                                        )
                                                                           Case No:      DNCW 398CR000007-009
                  W ILLIAM PATRICK MILLER                                )
                                                                           USM No:       13661-058
                                                                         )
Date of Original Judgment:     September 23, 1999
                                                                         )
Date of Last Amended Judgment: February 23, 2009                           Ross Hall Richardson
                                                                         )
                                                                             Defendant’s Attorney

                    Order Regarding Motion for Sentence Reduction Pursuant to 18 U.S.C. § 3582(c)(2)

        Upon motion of  the defendant  the Director of the Bureau of Prisons  the court under 18 U.S.C.
§ 3582(c)(2) for a reduction in the term of imprisonment imposed based on a guideline sentencing range that has
subsequently been lowered and made retroactive by the United States Sentencing Commission pursuant to 28 U.S.C.
§ 994(u), and having considered such motion, and taking into account the policy statement set forth at USSG §1B1.10
and the sentencing factors set forth in 18 U.S.C. § 3553(a), to the extent that they are applicable,
IT IS ORDERED that the motion is:
        DENIED .    GRANTED and the defendant’s previously imposed sentence of imprisonment (as reflected in
                    the last judgment issued) of 188 months        is reduced to Time served, plus 10 days all cts.
I. COURT DETERMINATION OF GUIDELINE RANGE (Prior to Any Departures)
Original Offense Level:    36             Amended Offense Level:     32
Criminal History Category: III            Criminal History Category: III
Original Guideline Range:  235-293 months Amended Guideline Range: 151-188 months

II. SENTENCE RELATIVE TO AMENDED GUIDELINE RANGE
 The reduced sentence is within the amended guideline range.
 The previous term of imprisonment imposed was less than the guideline range applicable to the defendant at the time
   of sentencing and the reduced sentence is comparably less than the amended guideline range.
 The reduced sentence is above the amended guideline range.
 Other




III. ADDITIONAL COMMENTS
Defendant previously sentenced to120 months, each count, all counts concurrent on Counts Twelve &
Thirteen.

Except as provided above, all provisions of the judgment dated                   September 23, 1999    shall remain in effect.
IT IS SO ORDERED .

Order Date:         February 15, 2012


Effective Date:
                     (if different from order



                  Case 3:98-cr-00007-GCM                      Document 554            Filed 02/15/12      Page 1 of 1
